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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          GAINSVILLE DIVISION

THOMAS CHASTAIN,                      )
and JONATHAN V. DUNN, Individually )
And on Behalf of All Others Similarly )
Situated,                             )           CLASS ACTION
                                      )           CIVIL ACTION FILE
      Plaintiffs,                     )           NO. 2:23-CV-160-RWS
                                      )
v.                                    )
                                      )
BLUE LINE SOLUTIONS, LLC              )
                                      )
      Defendant.                      )

            SECOND AMENDED CLASS ACTION COMPLAINT

      COME NOW Plaintiffs Thomas Chastain and Jonathan V. Dunn, individually

and on behalf of all other persons similarly situated, by and through their attorneys,

allege as follows:

                           NATURE OF THE ACTION
                                       1.

      This is a class action brought to declare O.C.G.A. § 40-14-18 (the “School

Zone Electronic Enforcement Statute”) unconstitutional and for refund of

unauthorized and excessive fees levied and collected by Defendant Blue Line

Solutions, LLC (Blue Line) under the color of that statute and uniform contracts
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between Blue Line and local governments, including the City of Tallulah Falls and

Chatham County. The statute imposes fines and penalties upon owners of motor

vehicles simply because a motor vehicle is registered in their name in violation of

the due process clauses of the United States and Georgia Constitutions and O.C.G.A.

§ 16-2-20. The procedures for imposition of these unconstitutional fines and

penalties set forth in O.C.G.A. § 40-14-18 are patently illegal and unconstitutional.

Moreover, the statute unconstitutionally deprives owners of motor vehicles

registered with the Georgia Department of Public Safety with equal protection of the

law. Blue Line is a private, for-profit, out-of-state corporation. It is not a governing

body, nor is it an agent of a governing body empowered to provide law enforcement

or judicial functions nor is it an agent of a law enforcement agency. Its employees

are not sworn law enforcement officers certified to test and operate radar speed

detection equipment, to issue citations accusing Georgians of violations of Georgia

law, or to act as de facto law enforcement officers or as court administrators. Blue

Line is collecting unauthorized revenue, wrongfully retaining revenue, imposing

excessive and unauthorized electronic processing fees and unauthorized credit card

usage fees against Named Plaintiffs and the prospective Class Members in violation

of Georgia law.




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                                           2.

      The School Zone Enforcement Statute is unconstitutional as written and as

applied under Blue Line’s form contracts.

                                           3.

      Georgia law does not allow private, for-profit corporations to share on a

percentage-basis fines and penalties imposed upon its citizens for violations of

criminal statutes, nor does it authorize a private, for-profit corporation to

masquerade as a law enforcement agency and thereby deceptively hide the fact that

a large portion of the solicited penalties are being retained by the undisclosed private,

for-profit corporation.

                    PARTIES, JURISDICTION AND VENUE
                                           4.

      Plaintiff Thomas Chastain is a resident of Rabun County, Georgia. Plaintiff

Thomas Chastain was issued a “Notice of Citation” under the “School Zone

Electronic Enforcement Statute” purportedly by the Tallulah Falls Police

Department on March 7, 2023, even though he was not driving his 2021 Jeep that is

the subject of the citation on the date and time shown on the citation and had not

violated any state or local speed limit law. See Ex. A.




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                                          5.

      Plaintiff Jonathan Dunn is a resident of Chatham County, Georgia and was

issued a “Notice of Citation” under the “School Zone Electronic Enforcement

Statute” purportedly by the Chatham County Police Department on November 8,

2022, charging that his “motor vehicle was operated in disregard or disobedience of

the speed limit the marked school zone...” Ex. E.

                                          6.

      Defendant Blue Line Solutions, LLC (Blue Line) is a Tennessee Limited

Liability Corporation that operates the Automated Speed Enforcement Systems that

are in place within school zones in numerous Georgia            counties, including

Habersham County and Chatham County. Blue Line Solutions is registered to do

business in Georgia. Blue Line has been served by delivering a copy of the Summons

and Complaint to its registered agent: Jeff Oxner, 327 Bonds Road, Chickamauga,

Walker County, Georgia 30707. As such, it has elected to be subject to the general

jurisdiction of the courts of Georgia, including this Court.

                                          7.

      This Court has subject matter and diversity jurisdiction over this action under

28 U.S.C. § 1332(d) because this is a class action wherein the amount in controversy

exceeds $5,000,000 exclusive of interest and costs, there are more than 100 members

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of the proposed Class, and at least one Class Member, including Plaintiffs, is a

citizen of a different state from Blue Line. There is minimal diversity. This Court

also has jurisdiction under 28 U.S.C. § 1331.

                                           8.

      Venue is proper in this District under 28 U.S.C. § 1391(b) because Blue Line

operates in Habersham County under its contract with the City of Tallulah Falls, and

a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred

in this County, including wrongfully extracting $75.00 from Mr. Chastain without

lawful authority and through fraudulent and deceptive conduct as set forth herein.

                           FACTUAL BACKGROUND

                                      Overview

                                           9.

       On or about March 25, 2023, Plaintiff Thomas Chastain received a “Notice

of Citation” that purports to be from the Tallulah Falls Police Department. The

citation states that a vehicle registered to Thomas Chastain was issued a “citation”

for violation of O.C.G.A. § 40-14-18 for excessive speed in a school zone on March

7, 2023, at 2:44 p.m. The “citation” does not accuse Mr. Chastain of driving over the

speed limit. The “citation” does state that a camera took photographs of the rear of

Thomas Chastain’s automobile while the car was traveling 58 miles per hour in a

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school zone with a speed limit of 45 miles per hour. A copy of the “Notice of

Citation” is attached hereto as Exhibit “A”.

                                        10.

      The “Notice of Citation” created by Blue Line and mailed to Mr. Chastain

states that a 2021 Jeep registered to Thomas Chastain was photographed violating

the “School Zone Electronic Enforcement Statute” and as the registered owner of

the vehicle Thomas Chastain was responsible for a Civil Monetary Penalty. The

“Civil Monetary Penalty” set forth on the “citation” was $100. Blue Line prepared

and mailed this “citation” knowing that it had no evidence that identified the person

who was allegedly driving Mr. Chastain’s car at the time of the alleged violation of

Georgia law. The “Notice of Citation” was not a valid citation. O.C.G.A. §17-4-

23. Employees of Blue Line prepared and mailed the “Notice of Citation” knowing

that they were not Georgia law enforcement officers empowered to issue citations.

                                        11.

      Blue Line did not send to Mr. Chastain “a copy of a certificate sworn to or

affirmed by a certified peace officer” that complies with Georgia law and the

mandate of O.C.G.A. § 40-14-18(b)(2)(D). No certified police officer had been

sworn and administered an oath by a person authorized to administer oaths verifying

on personal knowledge the violation of Georgia law asserted in the “citation” sent

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by Blue Line to Mr. Chastain, a requirement of O.C.G.A. § 40-14-18(b)(2)(D) and

other provisions of Georgia law. The brief statement to the contrary in the “citation”

that Blue Line mailed to Mr. Chastain was materially false and deceptive, and was

used to extract money from Mr. Chastain in violation of 18 U.S.C. § 1341 and

O.C.G.A. § 16-8-3. Other solicitations sent by Blue Line were similarly deficient

and deceptive.

                                         12.

      Plaintiff Thomas Chastain paid $75, the statutory penalty set forth in

O.C.G.A. § 40-14-18 of the “$100 Civil Monetary Penalty” solicited by Blue Line

by check payable to “Town of Tallulah Falls” on or about April 28, 2023. A true

and correct copy of the check indicating payment is attached hereto as Exhibit “B”.

The check, though payable to “Town of Tallulah Falls,” was deposited by Blue Line

in an account maintained by Blue Line in Chattanooga, Tennessee. The payment

was not voluntary. All the facts were not known by Mr. Chastain. Mr. Chastain had

the misplaced confidence that the citation was from the Tallulah Falls Police

Department. Blue Line used deception to collect unauthorized revenue.            The

payment was compelled under threat of a lien on the title to Mr. Chastain’s

automobile and deprivation of his use of his automobile and his rights as owner of

his automobile, all without due process of law.

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                                          13.

       Plaintiff Thomas Chastain received a second “citation” attempting to collect

the maximum processing fee of $25.00 deceptively labeled by Blue Line as a “Civil

Monetary Penalty” on or around May 25, 2023. A true and correct copy of the second

citation is attached as Exhibit “C”.

                                          14.

       On May 26, 2023, Blue Line mailed a third and Final Notice for alleged

Nonpayment of a “Civil Monetary Penalty” in the amount of $25 to Mr. Chastain,

even though the statute only authorizes a civil monetary penalty of $75.00 for a first

offense. O.C.G.A. § 40-14-18(b)(1). The Final Notice demanded payment within

30 days, by June 24, 2023, or the County or its agent “shall send a referral to the

Department of Revenue.” A copy of the envelope and the Final Notice of Unpaid

Civil Monetary Penalty are attached as Exhibit “D”.

                                          15.

       On or about November 8, 2022, Plaintiff Jonathan Dunn received a “Notice

of Citation” that purported to be from the Chatham County Police Department

though it was in fact sent by Blue Line. The “citation” states that a vehicle registered

to Plaintiff Jonathan Dunn was issued a citation in violation of O.C.G.A. § 40-14-18

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for excessive speed in a school zone on October 28, 2022. The “citation” does not

accuse Mr. Dunn of driving over the speed limit. The “citation” does state that a

camera took photographs of the rear of Plaintiff Dunn’s automobile traveling 48

miles per hour in a school zone with a speed limit of 35 miles per hour at 4:12 p.m.

on October 28, 2022.     A copy of the “Notice of Citation” is attached hereto as

Exhibit “E”. This “Notice of Citation,” issued by Blue Line, is not a valid citation.

O.C.G.A. § 17-4-23. Employees of Blue Line prepared and mailed the “Notice of

Citation” knowing that they were not Georgia law enforcement officers empowered

to issue citations.

                                        16.

       The “Notice of Citation” sent to Mr. Dunn states that a 2014 Toyota registered

to Mr. Dunn was photographed violating the “School Zone Electronic Enforcement

Statute” and as the registered owner of the vehicle Mr. Dunn was responsible for a

“Civil Monetary Penalty.” “The Civil Monetary Penalty” set forth on the “Citation”

was $100, even though the statute only authorizes a civil monetary penalty of $75.00

for a first offense. O.C.G.A. § 40-14-18(b)(1). Blue Line included its maximum

“electronic processing fee” as part of the “Civil Monetary Penalty.”      Blue Line

prepared and mailed this “citation” knowing that it had no evidence that identified

the person who was allegedly driving Mr. Dunn’s car at the time of the alleged

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violation of Georgia law.

                                         17.

      Mr. Dunn paid $100.00 for the “Civil Monetary Penalty” by credit card on or

about January 29, 2023. The penalty included a flat $25 “processing fee” and an

additional $3.90 charge for the use of a credit card for payment. Plaintiff’s total

payment was $103.90. A true and correct copy of the receipt indicating payment is

attached hereto as Exhibit “F”. The payment was not voluntary. All of the facts

were not known to Mr. Dunn. Mr. Dunn had misplaced confidence that the citation

was from the Chatham County Police Department. Blue Line used deception to

collect the unauthorized revenue. It was compelled under threat of a lien on the title

to Mr. Dunn’s automobile and deprivation of the use of his automobile and his rights

as owner of his automobile, all without due process of law.

                                         18.

      Blue Line did not send to Mr. Dunn “a copy of a certificate sworn to or

affirmed by a certified peace officer” that complies with Georgia law and the

mandate of O.C.G.A. § 40-14-18(b)(2)(D). No certified police officer had been

sworn and administered an oath by a person authorized to administer oaths verifying

on personal knowledge the violation of Georgia law asserted in the citation sent by

Blue Line to Mr. Dunn, a requirement of O.C.G.A. § 40-14-18(b)(2)(D) and other

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requirements of Georgia law. The statement to the contrary in the citation that Blue

Line mailed to Mr. Dunn was materially false and deceptive, and was used to extract

money from Mr. Dunn in violation of 18 U.S.C. § 1341 and O.C.G.A. § 16-8-3.

Other solicitations sent by Blue Line were similarly deficient and deceptive.

    The School Zone Electronic Enforcement Statute and Related Statutes

                                        19.

      The School Zone Electronic Enforcement Statute became effective on July 1,

2018. A true and correct copy of the School Zone Electronic Enforcement Statute

is attached as Exhibit “G”.

                                          20.

      The School Zone Electronic Enforcement Statute provides:

      [T]he speed limit within any school zone as provided for in Code
      Section 40-14-8 and marked pursuant to Code Section 40-14-6 may be
      enforced by using photographically recorded images for violations
      which occurred only on a school day during the time in which
      instructional classes are taking place and one hour before such classes
      are scheduled to begin and for one hour after such classes have
      concluded when such violations are in excess of ten miles per hour over
      the speed limit.

O.C.G.A. § 40-14-18(a)(1).

                                        21.

      The School Zone Electronic Enforcement Statute further provides:

      The owner of a motor vehicle shall be liable for a civil monetary penalty
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       to the governing body of the law enforcement agency provided for in
       paragraph (2) of this subsection if such vehicle is found, as evidenced
       by photographically recorded images, to have been operated in
       disregard or disobedience of the speed limit within any school zone and
       such disregard of disobedience was not otherwise authorized by law.
       The amount of such civil monetary penalty shall be $75 for a first
       violation and $125 for a second or any subsequent violation, in addition
       to fees associated with the electronic processing of such civil monetary
       penalty which shall not exceed $25.00…

Id. at (b)(1).

                                            22.

       The statutes being enforced are O.C.G.A. § 40-6-181, § 40-6-1(a) and § 40-6-

187(a) that provide:

       § 40-6-181. Maximum limits

       (a) The limits specified in this Code section or established as authorized
           in this article shall be the maximum lawful vehicle speeds, except
           when a special hazard exists that requires a lower speed for
           compliance with Code Section 40-6-180.

       (b) Consistent with the provision of engineering and traffic
       investigations regarding maximum speed limits as provided in Code
       Section 40-6-182, no person shall drive a vehicle at a speed in excess
       of the following maximum limits:

                 (1) Thirty miles per hour in any urban or residential district
                 unless otherwise designated by appropriate signs;

                 (1.1) Thirty-five miles per hour on an unpaved county road
                 unless designated otherwise by appropriate signs;

                 (2) Seventy miles per hour on a highway on the federal interstate
                 system and on physically divided highways with full control of
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           access which are outside of an urbanized area of 50,000
           population or more, provided that such speed limit is designated
           by appropriate signs;

           (3) Seventy miles per hour on a highway on the federal interstate
           system which is inside of an urbanized area of 50,000 population
           or more, provided that such speed limit is designated by
           appropriate signs;

           (4) Sixty-five miles per hour on those sections of physically
           divided highways without full access control on the state
           highway system, provided that such speed limit is designated by
           appropriate signs; and

           (5) Fifty-five miles per hour in other locations.

     (c) The maximum speed limits set forth in this Code section may be
     altered as authorized in Code Sections 40-6-182, 40-6-183, and 40-6-
     188.

O.C.G.A. § 40-6-18

     § 40-6-1. Required obedience to traffic laws; maximum fines for
     violating speed limits

     (a) It is unlawful and, unless otherwise declared in this chapter with
         respect to particular offenses, it is a misdemeanor for any person to
         do any act forbidden or fail to perform any act required in this
         chapter.

     (b) Unless a different maximum fine or greater minimum fine is
         specifically provided in this chapter for a particular violation, the
         maximum fine which may be imposed as punishment for a first
         offense of violating any lawful speed limit established by or
         pursuant to the provisions of Article 9 of this chapter by exceeding
         a maximum lawful speed limit:

           (1) By five miles per hour or less shall be no dollars;
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             (2) By more than five but not more than ten miles per hour shall
             not exceed $25.00;
             (3) By more than ten but not more than 14 miles per hour shall
             not exceed $100.00;
             (4) By more than 14 but less than 19 miles per hour shall not
             exceed $125.00;
             (5) By 19 or more but less than 24 miles per hour shall not exceed
             $150.00; or
             (6) By 24 or more but less than 34 miles per hour shall not exceed
             $500.00.

O.C.G.A. § 40-6-1.

      The statutory penalties do not include loss of use of one’s automobile

or deprivation of ownership rights by barring tag renewals and title transfers.

                                         23.

      Paragraph (b)(2) of the School Zone Electronic Enforcement Statute provides:

      A law enforcement agency authorized to enforce the speed limit of a
      school zone, or an agent working on behalf of a law enforcement
      agency or governing body, shall send by first class mail addressed to
      the owner of the motor vehicle within 30 days after obtaining the name
      and address of the owner of the motor vehicle but no later than 60 days
      after the date of the alleged violation:
             (A)     A citation for the alleged violation, which shall include
             the date and time of the violation, the location of the infraction,
             the maximum speed at which such motor vehicle was traveling
             in photographically recorded images, the maximum speed
             applicable within such school zone, the civil warning or the
             amount of the civil monetary penalty imposed, and the date by
             which a civil monetary penalty shall be paid;
             (B) An image taken from the photographically recorded
             images showing the vehicle involved in the infraction;
             (C) A website address where photographically recorded
             images showing the vehicle involved in the infraction and a
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             duplicate of the information provided for in this paragraph may
             be viewed;
             (D) A copy of a certificate sworn to or affirmed by a certified
             peace officer employed by a law enforcement agency authorized
             to enforce the speed limit of the school zone and stating that,
             based upon inspection of photographically record images, the
             owner’s motor vehicle was operated in disregard or disobedience
             of the speed limit in the marked school zone and that such
             disregard or disobedience was not otherwise authorized by law;
             (E) A statement of the inference provided by paragraph (4) of
             this subsection and of the means specified therein by which such
             inference may be rebutted;
             (F) Information advising the owner of the motor vehicle of the
             manner in which liability as alleged in the citation may be
             contested through an administrative hearing; and,
             (G) A warning that failure to pay the civil monetary penalty or
             to contest liability in a timely manner as provided for in
             subsection (d) of this Code section shall waive any right to
             contest liability.

Id. at b(2)(A)-(G).

                                        24.

      The above code section did not amend by implication any other statute,

including O.C.G.A. §§ 16-2-20, 17-4-23, 40-6-1, 40-14-2.

                                        25.

      Paragraph (m) of said statute provides:

      § 40-14-18. Enforcement; photographically recorded images; civil
penalty

      (m) The money collected and remitted to the governing body pursuant
      to paragraph (1) of subsection (b) of this Code section shall only be
      used by such governing body to fund local law enforcement or public
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      safety initiatives. This subsection shall not preclude the appropriation
      of a greater amount than collected and remitted under this subsection.

O.C.G.A. § 40-14-18(m).

                                         26.

      The statutes imposing punishments for speeding address only the driver of the

speeding vehicle and not the owner.

                                         27.

      The requirements for a valid citation for speeding are:

      § 17-4-23. Arrests for certain violations may be made by citation;
      warrants for failure to appear

      (a)(1) A law enforcement officer may arrest a person accused of
      violating any law or ordinance enacted by local law governing the
      operation, licensing, registration, maintenance, or inspection of motor
      vehicles or violating paragraph (2), (3), or (5) of subsection (a) of Code
      Section 3-3-23 by the issuance of a citation, provided that such offense
      is committed in his or her presence or information constituting a basis
      for such arrest was received by the arresting officer from a law
      enforcement officer observing such offense being committed, except
      that, when such offense results in an accident, an investigating officer
      may issue citations regardless of whether the offense occurred in the
      presence of a law enforcement officer.
                                         . . .
      (3) The arresting officer shall issue a citation to the accused which shall
      enumerate the specific charges and the date upon which he or she is to
      appear and answer the charges or a notation that he or she will be later
      notified of the date upon which he or she is to appear and answer the
      charges. When an arresting officer makes an arrest concerning the
      operation of a motor vehicle based on information received from
      another law enforcement officer who observed the offense being

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      committed, the citation shall list the name of each officer and each
      officer must be present when the charges against the accused are heard.

O.C.G.A. § 17-4-23(a).     However, the provisions of the School Zone Electronic

Enforcement Act do not apply if the citation was issued by a certified peace office.

O.C.G.A. § 40-14-18(l).

                                          28.

      The documents entitled “citations” that were prepared by Blue Line and

mailed by Blue Line to Mr. Chastain and Mr. Dunn and to all members of the

proposed class are not bona fide citations that accuse drivers of violations of Georgia

law. The “citations” were not issued by law enforcement officers based upon

personal knowledge as required by O.C.G.A. § 17-4-23(a). The Blue Line “citations”

are fake documents used to deceive the owners of motor vehicles with Georgia

license plates.

                                          29.

      A crime is a public wrong against the State. An action to enforce an alleged

violation of a criminal statute is a criminal case, conferring upon the accused the full

panoply of due process rights afforded all persons charged with the commission of

a crime.

                                          30.

      O.C.G.A. § 40-6-1(a), § 40-6-181(a) and all speeding statutes enacted by local
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governments are criminal statutes, and monetary obligations imposed upon alleged

violators are punishments for violations for crimes. These statutes and the School

Zone Electronic Enforcement Statute must be construed narrowly and against the

State.

                                            31.

         Mislabeling a fine as a “civil monetary penalty” does not alter the fact that the

charge being imposed is, as a matter of law, a punishment being imposed for

violation of a criminal statute. A charge of violation of a criminal statute is not a

civil action.

                                            32.

         All sums collected by Blue Line from Mr. Chastain, Mr. Dunn and all

members of the proposed class are penalties collected for punishment of alleged

violations of criminal statutes. Funds cannot be collected or penalties imposed that

are not authorized by statute.

                                            33.

         There is no underlying criminal statute in Georgia that makes the owner of a

motor vehicle liable for the commission of a crime because a vehicle registered to

the owner allegedly was traveling too fast in a school zone. Georgia law provides:

         (b) A person is concerned in the commission of a crime only if he:

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             (1) Directly commits the crime;

             (2) Intentionally causes some other person to commit the crime
                 under such circumstances that the other person is not guilty
                 of any crime either in fact or because of legal incapacity;

             (3) Intentionally aids or abets in the commission of the crime; or

             (4) Intentionally advises, encourages, hires, counsels, or
                 procures another to commit the crime.

O.C.G.A. § 16-2-20(b).

                                         34.

      The “Notices of Citations” prepared and mailed by Blue Line do not charge

Mr. Chastain or Mr. Dunn or any class member with any culpable conduct.

                                         35.

      Blue Line has prepared and entered into substantially similar contracts called

“Automated Speed Enforcement System Agreements (ASE System)” with

numerous Georgia counties and local governments to perform automated

enforcement of the “School Zone Electronic Enforcement Statute”. Blue Line owns,

possesses, implements and operates the ASE System including the equipment, radar

and cameras. Blue Line provides an automated, web-based processing program for

all Notices of Liability also known as “Notices of Citation” on the documents mailed

to purported violators.


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                                        36.

      O.C.G.A. § 40-14-18(b)(2)(D) requires service of a copy of an actual, written

affidavit executed by a law enforcement officer in the presence of a notary public

following administration of an oath and with the notary’s jurat and seal affixed

thereto. The brief words and printed signatures contained in the “Notices of

Citations” sent by Blue Line to Mr. Chastain, Mr. Dunn and members of the

proposed class do not meet the command of § 40-14-18(b)(2)(D) or Georgia law.

                                        37.

      The statute further provides:

      (3) Proof that a motor vehicle was operated in disregard or disobedience
      of the speed limit of the marked school zone shall be evidenced by
      photographically recorded images. A copy of a certificate sworn to or
      affirmed by a certified peace officer employed by a law enforcement
      agency and stating that, based upon inspection of photographically
      recorded images, a motor vehicle was operated in disregard or
      disobedience of the speed limit in the marked school zone and that such
      disregard or disobedience was not otherwise authorized by law shall be
      prima-facie evidence of the facts contained therein;

O.C.G.A. § 40-14-18(b)(3).

                                        38.

      The above section confirms that the statute contemplates a written affidavit

executed and reflecting the formalities required of affidavits probative in legal

proceedings, which the form language and printed signature without jurat or seal

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appearing on Blue Line’s form “Notices of Citations,” clearly is not.

                                        39.

      The form language and printed signatures does not establish a prima-facie

case that the registered owner of a car had violated any Georgia law. The accused,

including Mr. Chastain, Mr. Dunn and all proposed class members have a

constitutional right to the presumption of innocence with the burden of proof beyond

a reasonable doubt resting with the State of Georgia. The contrary provisions of

O.C.G.A. § 40-14-18(b)(3) are unconstitutional under the due process clauses of the

United States and Georgia Constitutions.

                                        40.

      O.C.G.A. § 40-14-18(b)(4) provides:

      (b) For the purpose of enforcement pursuant to this Code section:

            (1) The owner of a motor vehicle shall be liable for a civil
            monetary penalty to the governing body of the law enforcement
            agency provided for in paragraph (2) of this subsection if such
            vehicle is found, as evidenced by photographically recorded
            images, to have been operated in disregard or disobedience of the
            speed limit within any school zone and such disregard or
            disobedience was not otherwise authorized by law. The amount
            of such civil monetary penalty shall be $75.00 for a first violation
            and $125.00 for a second or any subsequent violation, in addition
            to fees associated with the electronic processing of such civil
            monetary penalty which shall not exceed $25.00; provided,
            however, that for a period of 30 days after the first automated
            traffic enforcement safety device is introduced by a law
            enforcement agency within a school zone, the driver of a motor
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      vehicle shall not be liable for a civil monetary penalty but shall
      be issued a civil warning for disregard or disobedience of the
      speed limit within the school zone;

      (2) A law enforcement agency authorized to enforce the speed
      limit of a school zone, or an agent working on behalf of a law
      enforcement agency or governing body, shall send by first class
      mail addressed to the owner of the motor vehicle within 30 days
      after obtaining the name and address of the owner of the motor
      vehicle but no later than 60 days after the date of the alleged
      violation:

            (A) A citation for the alleged violation, which shall
            include the date and time of the violation, the location of
            the infraction, the maximum speed at which such motor
            vehicle was traveling in photographically recorded
            images, the maximum speed applicable within such school
            zone, the civil warning or the amount of the civil monetary
            penalty imposed, and the date by which a civil monetary
            penalty shall be paid;

            (B) An image taken from the photographically recorded
            images showing the vehicle involved in the infraction;

            (C) A website address where photographically recorded
            images showing the vehicle involved in the infraction and
            a duplicate of the information provided for in this
            paragraph may be viewed;

            (D) A copy of a certificate sworn to or affirmed by a
            certified peace officer employed by a law enforcement
            agency authorized to enforce the speed limit of the school
            zone and stating that, based upon inspection of
            photographically recorded images, the owner's motor
            vehicle was operated in disregard or disobedience of the
            speed limit in the marked school zone and that such
            disregard or disobedience was not otherwise authorized by
            law;
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                   (E) A statement of the inference provided by paragraph (4)
                   of this subsection and of the means specified therein by
                   which such inference may be rebutted;

O.C.G.A. § 40-14-18(b).

                                        41.

      Those so accused, including Mr. Chastain, Mr. Dunn and all proposed class

members have a constitutional right to the presumption of innocence with the burden

of proof beyond a reasonable doubt resting with the State of Georgia. The contrary

provisions of O.C.G.A. § 40-14-18(b)(3) are unconstitutional under the due process

clauses of the United States and Georgia Constitutions.

                                        42.

      The statute limits available defenses. O.C.G.A. § 40-18-18(b)(4). These

defenses do not include the issue of whether Blue Line’s automated radar system

was producing accurate results, a further deprivation of due process guaranteed by

the Constitutions of the United States and Georgia.

                                        43.

      The School Zone Electronic Enforcement Statute imposes fines and severe

penalties only upon registered owners of motor vehicles registered in the State of

Georgia. Owners of vehicles registered in a state other than Georgia, violators of

Georgia speeding laws who drive a car registered to someone else and drivers of
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leased vehicles are exempt from its sanctions.

                                         44.

      Fines for traffic violations collected through our courts are subject to a cap.

O.C.G.A. § 40-14-11(d). This provision of Georgia law discourages small Georgia

towns from becoming speed traps. However, as recently amended, this cap does not

apply to fines collected by Blue Line and other private, for-profit companies

operating under the School Zone Electronic Enforcement Statute:

      (d) There shall be a rebuttable presumption that a law enforcement
      agency is employing speed detection devices for purposes other than
      the promotion of the public health, welfare, and safety if the fines levied
      based on the use of speed detection devices for speeding offenses are
      equal to or greater than 35 percent of a municipal or county law
      enforcement agency's budget. For purposes of this Code section, fines
      collected for citations issued for violations of Code Section 40-6-
      180 shall be included when calculating total speeding fine revenue for
      the agency; provided, however, that fines for speeding violations
      exceeding 20 miles per hour over the established speed limit and civil
      monetary penalties for speeding violations issued pursuant to Code
      Section 40-14-18 shall not be considered when calculating total
      speeding fine revenue for the agency.

O.C.G.A. § 40-14-11(d).

This exception for § 40-14-18 promotes small town speed traps and denies equal

protection for registered owners of motor vehicles registered in Georgia entrapped

by Blue Line and those with whom it has contracts.




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                                         45.

      Tallulah Falls has a population of 283. The city budgeted $125,425 for its

police department for 2023. The Blue Line cameras are set up in a wooded, rural

area on U.S. 441, a divided four-lane highway. These cameras are allegedly to

protect the students of Tallulah Falls School. However, there are no curb cuts

allowing vehicles to enter or exit any school grounds from U.S. 441, nor are there

any pedestrian paths along U.S. 441. Tallulah Falls School is on School Road about

half a mile from U.S. 441. It is not visible from U.S. 441. The town has become

infamous as a speed trap since the town teemed up with Blue Line. The town has,

to date, received $3,000,000 as its share of monies collected by Blue Line from

owners of vehicles registered in Georgia that have passed along U.S. 441, without

coming within a half mile of the school. The town and Blue Line are “employing

speed detection devices for purposes other than the promotion of the public health,

welfare and safety,” rendering their use by Blue Line illegal. O.C.G.A. § 4-14-11(a).

                                         46.

      Drivers cited for speeding in a school zone by sworn law enforcement officers

using radar systems that the officers are trained and certified to operate are exempt

from the penalties of loss of use of one’s vehicle.




                                          25
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                                         47.

      There is no rational for this disparate treatment between the registered owners

of vehicles registered in Georgia and drivers and owners of all other vehicles.

                                         48.

      The registered owners of vehicles registered with the State of Georgia are

denied equal protection of the law in violation of their rights under the Fourteenth

Amendment of the United States Constitution and Article I, Section I, ¶ II of the

Georgia Constitution.

                                         49.

      Blue Line’s contract with the City of Tallulah Falls provides in pertinent part:

      6.    FEES AND PAYMENT

      City shall pay BLS for all equipment, services and maintenance based
      on the Service Fee schedule indicated in Exhibit C.
                                      . . .

      9.    OWNERSHIP OF SYSTEM

      It is understood by the City that the ASE System, and all associated
      hardware and software being provided by BLS is, and shall remain,
      the sole property of BLS, unless separately procured by City. The
      ASE System is being provided to City only pursuant to the terms of
      this Agreement. City agrees that it shall not make any modifications
      to BLS’s equipment, nor disassemble or perform any type or reverse
      engineering to the ASE System, nor infringe on any property or
      patent rights, nor cause or allow any other Person to do any of the
      foregoing. The parties agree that upon termination of this
      Agreement for any reason, BLS shall have the right, but not the
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      obligation, to remove all equipment provided. If the Agreement is
      terminated by either Party after the completion of the first term, the City
      may take possession of the radar speed displays.
                                        . . .

      19. NO AGENCY

      The relationship between the parties shall be that of independent
      contractors, and the employees, agents and servants of either party
      shall in no event be considered to be employees, agents, or servants
      of the other party. This Agreement shall not create an agency
      relationship between BLS and City and neither party may incur
      any debts or liabilities or obligations on behalf of the other party,
      except as specifically provided herein.

Exhibit “H,” pp. 3, 4, 6 (emphasis added).

                                         50.

      Exhibit C to the contract provides:

      Revenue of paid Notice of Liability shall be shared between the
      two parties:

            The City's portion shall be 65% of all paid Notice of
            Liabilities and BLS's portion shall be 35% of all paid Notice
            of Liabilities. No fees or charges will be assessed to the
            agency for non-paid violations.

            BLS provides all ASE equipment, installation, wireless
            integration, & infrastructure. ASE System equipment and
            installation costs are recovered by BLS in 12 equal
            monthly installments from net revenue generated and
            apportioned to BLS from revenue share. In the event the
            agreement is terminated by the City as allowed by Section
            4.A.(I), prior to full recovery of equipment and
            installation costs, the City will be responsible for the
            balance. The parties agree the cost of development,
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            implementation, and installation of the ASE System is
            $75,000 per installed ASE Camera System, and upon early
            termination under Section 4.A.(I) the City shall reimburse
            BLS for such cost of the ASE System used by City. Full
            payment of all such costs will be due within 30 days after
            the date of termination.

      Fees Charged to Violators

            A credit card convenience fee of $4.90 to be charged to the
            violator using a credit card (unless prohibited by state statute) for
            violation payment paid via the Internet. Such convenience fees
            shall be collected by BLS during payment of violation and shall
            not be shared with City or included in City’s share of Revenue.

Id., p. 12 (emphasis added).

                                         51.

      Blue Line’s contract with Chatham County provides in pertinent part:

      6.    FEES AND PAYMENT

      County shall pay BLS for all equipment, services and maintenance
      based on the Service Fee schedule indicated in Exhibit C.
                                     . . .
      9.    OWNERSHIP OF SYSTEM

      It is understood by the County that the ASE System, and all
      associated hardware and software being provided by BLS is, and
      shall remain, the sole property of BLS, unless separately procured
      by County. The ASE System is being provided to County only
      pursuant to the terms of this Agreement. County agrees that it shall
      not make any modifications to BLS’s equipment, nor disassemble
      or perform any type or reverse engineering to the ASE System, nor
      infringe on any property or patent rights, nor cause or allow any
      other Person to do any of the foregoing.
                                      . . .
                                         28
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      19. NO AGENCY

      The relationship between the parties shall be that of independent
      contractors, and the employees, agents and servants of either party
      shall in no event be considered to be employees, agents, or servants
      of the other party. This Agreement shall not create an agency
      relationship between BLS and County and neither party may
      incur any debts or liabilities or obligations on behalf of the other
      party, except as specifically provided herein.

Exhibit “I,” pp. 3, 4, 6 (emphasis added).

                                        52.

      Exhibit C to the contract provides:

      Revenue of paid Notice of Liability shall be shared between the
      two parties:

             The County's portion shall be 65% of all paid Notice of
             Liabilities and BLS's portion shall be 35% of all paid Notice
             of Liabilities. No fees or charges will be assessed to the
             agency for non-paid violations.

             BLS provides all ASE equipment, installation, wireless
             integration, & infrastructure. ASE System equipment and
             installation costs are recovered by BLS in 2 4 equal
             monthly installments from net revenue generated and
             apportioned to BLS from revenue share beginning from
             the first revenue disbursement to the County from each
             ASE system. In the event the agreement is terminated by
             the County as allowed by Section 4.A., prior to full
             recovery of equipment and installation costs, the County
             will be responsible for the balance. Full payment will
             be due within 30 days after w r i t t e n termination.




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       Fees Charged to Violators

             A credit card processing fee of $3.90 to be charged to the violator
             using a credit/debit card (unless prohibited by state statute) for
             violation payment paid via the Internet. The fee will be $4.90 for
             credit/debit payments processed manually for phone payments.
             Such processing fees shall be collected by BLS during payment
             of violation.

Id., p. 12 (emphasis added).

                                         53.

       Pursuant to its ASE System agreements, Blue Line is not an agent of the City

of Tallulah Falls nor of the Town of Tallulah Falls Police Department. Blue Line is

not an agent of Chatham County nor of the Chatham County Police Department.

                               Blue Line’s Operation

                                         54.

       Blue Line provides the local governments with the full panoply of duties that

are, as a matter of law, the duties of sworn law enforcement officers and court

officials.

                                         55.

       Blue Line exercises its own discretion as to where to place cameras, the duties

to test the radar systems for accuracy, the operation of the cameras that photograph

tags of automobiles, the decision as to which vehicle owners to charge with

violations, the preparation of the purported “citations,” the collection of monies as
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penalties for alleged, but non-existent, violations of Georgia law, and the remittance

of a portion of the collected funds to the respective local governments. Blue Line is

the de facto clerk of the Tallalah Falls Municipal Court. Exhibit J.

                                         56.

      The establishment of penalties that may be imposed as a consequence of

violations of criminal statutes is a legislative function that cannot, by contract, be

delegated to a private, for-profit corporation such as Blue Line.

                                         57.

      The discretion as to what amount of a legislatively-authorized monetary

penalty to impose upon persons convicted of violations of a criminal statute is a

judicial function that cannot, by contract, be delegated to a private, for-profit

corporation such a Blue Line.

                                         58.

      The contracts between Blue Line and Georgia local governments, including

the City of Tallulah Falls and Chatham County, do not set the amount of “electronic

processing fees” that Blue Line can charge owners of vehicles registered in Georgia.

All sums denominated as “electronic processing fees” collected by Blue Line are

collected without lawful authority.




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                                         59.

      Neither Blue Line nor any of its employees are sworn law enforcement

officers, nor are they certified to test or to operate radar speed detection devices in

the manner compelled by Georgia law.

                                         60.

      Blue Line provides all of the above governmental duties deceptively in the

name of the local government that it is not.

                                         61.

       Blue Line has wrongfully and deceptively, and without authority, collected

funds from the named Plaintiffs and members of the Class that it has retained and

applied to its charges for the cost of Blue Line’s equipment that are not authorized

by O.C.G.A. § 40-14-18, in violation of 18 U.S.C. § 1341 and O.C.G.A. §16-8-3 and

Art. 3, Sec. 6, ¶ 6 of the Georgia Constitution.

                                         62.

      Blue Line’s contracts are void in that they delegate law enforcement and

judicial duties to employees of a private, for-profit corporation compensated on a

fee system in violation of O.C.G.A. § 40-14-2, the Due Process Clause of the

Fourteenth Amendment of the United States Constitution and the Due Process

Clause of the Georgia Constitution, Act. 1, Sec. 1, ¶ 1. Blue Line has wrongfully

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and deceptively, and without authority, collected and retained funds from the named

Plaintiffs and members of the Class.

                                         63.

      Substantially similar Blue Line contracts provide that Blue Line shall collect

and accumulate all payments received under the guise of payments to law

enforcement agencies on a monthly basis and provide payment of a portion of the

collected funds to the law enforcement agencies on or before the 15th day of the

following month. The “citations” issued and mailed, and the collection of the

penalties and fees are standardized and automated. The name of the law enforcement

agency in the county or municipality under contract is inserted into the “citation” by

Blue Line. Although the name of the law enforcement or governmental agency is

set forth on the citation, the mailing address for all payments by check are to Blue

Line’s offices in Chattanooga, Tennessee though such fact is not disclosed by Blue

Line. This non-disclosure is deceptive and utilized to extract money from Plaintiffs

and Class Members that they do not owe to Blue Line in violation of 18 U.S.C. §

1341 and O.C.G.A §§ 16-8-3 and 16-10-23.

                                         64.

      As part of the Automated Speed Enforcement System Agreement, Blue Line

assumes responsibility for preparing and mailing the “Notice of Citation” to the

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registered owner of a vehicle that has been deemed in violation of speeding statutes,

even though Blue Line is not a law enforcement agency or an agent of a law

enforcement agency or an agent of a governing body as required by O.C.GA. § 40-

14-18(b)(2). Its employees are not certified, sworn law enforcement officers trained

and certified to test and operate speed detection radar devices in the State of Georgia.

                                          65.

       Blue Line electronically sends to the Tallulah Falls Police Department, the

Chatham County Police Department and other local governments, photos of the tags

of the cars that it has selected to send its “Notice of Citation” to the car’s registered

owner. Included with the electronic photos is the speed reported by Blue Line’s

automated cameras. An employee of the police department is asked to click yes or

no as to whether Blue Line should send the citation. The employee of the police

department has no personal knowledge of the information gathered and reported by

Blue Line, no knowledge of who might have been the driver of the photographed

vehicle and no knowledge of whether the speed detection equipment functioned

properly or had been operated properly. The employee of the police department does

not have the personal knowledge necessary for issuance of a valid citation or to

execute an affidavit with any probative value. This digital approval is a sham.




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                                          66.

       The speeds reported by Blue Line’s automated devices do not meet the

requirements for admissibility in civil or criminal trials in Georgia courts.

                                          67.

       Blue Line’s camera systems and “Notices of Citations” are a charade, a

fraudulent enterprise created and operated to induce owners of vehicles registered in

Georgia to mail it checks for $100 or more.

                                          68.

      Included on the “Notice of Citation” prepared by Blue Line is a penalty

amount and payment instructions.        Blue Line does not disclose its name, its

involvement or the fact that the solicited payments go to Blue Line and not to the

law enforcement agency or local government that is named in the citation as the

payee of the solicited “Civil Monetary Penalty” of $100.00.           Blue Line thus

deceptively hides its identity and illegally impersonates itself as a law enforcement

officer in violation of 18 U.S.C. § 1341 and O.C.G.A. § 16-10-23. Blue Line thereby

has fraudulently and deceptively, and without authority, collected and retained

money from Plaintiffs and Class Members in violation of 18 U.S.C. § 1341 and

O.C.G.A. §§ 16-8-3, and 16-10-23.




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                                         69.

       Each time Blue Line prepares and mails a “citation” to Plaintiffs and to

members of the Class in the form of Exhibit A, it is a separate violation of O.C.G.A.

§ 16-10-23 and 18 U.S.C. § 1341, and a separate and related act of racketeering

activity. O.C.G.A. § 16-14-3(5)(A)(xxiii). Each use of the U.S. Mails is a part of a

pattern of racketeering activity.

                                         70.

      Pursuant to the School Zone Electronic Enforcement Statute the “civil

monetary penalty [for violation of the School Zone Electronic Enforcement Statute]

shall be $75.00 for a first violation and $125.00 for a second or any subsequent

violation, in addition to fees associated with the electronic processing of such civil

monetary penalty which shall not exceed $25.00….” O.C.G.A. § 40-14-18(b)(1)

(emphasis added). The statute provides a maximum of $25 for the electronic

processing of the civil monetary penalty, but it does not assign to private, for-profit

corporations the discretion to set the amount to be charged.

                                         71.

      The electronic processing fee of the civil monetary penalty assessed to

Plaintiffs and Class Members exceeds the statutory amount authorized by O.C.G.A.

§ 40-14-18(b)(1) in that it is an automatic, flat rate charge that does not reflect the

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actual cost incurred by Blue Line for electronic processing of the civil monetary

penalty payment.     Blue Line deceptively demanded $100 as “civil monetary

penalty.” Blue Line levies an additional charge for the processing of credit card

payments for the civil monetary penalty for which there is no statutory authorization.

These facts were not disclosed to Plaintiffs or Class Members. Blue Line thereby

has fraudulently and deceptively, and without authority, collected and retained

money from Plaintiffs and Class Members in violation of 18 U.S.C. § 1341 and

O.C.G.A. §§ 16-8-3, and 16-10-23.

                                         72.

      Plaintiff Thomas Chastain’s “Notice of Citation” shows the following:




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                                          73.

      Plaintiff Jonathan Dunn’s “Notice of Citation” shows the following:




                                          74.

      The School Zone Electronic Enforcement Statute does not authorize an

automatic charge for all citations of the maximum amount of the electronic

processing fee regardless of actual electronic processing costs. Further, the “Notice

of Citation” issued to Plaintiffs misstates the nature of the $25.00 fee by calling it a

“processing fee,” rather than as an electronic processing fee and by stating that the

“Civil Monetary Penalty is $100,” even though the statute only allows for a $75 civil

monetary penalty. Twenty-five dollars is a grossly excessive charge for the mailing

of a copy of a citation to an alleged violator.


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                                         75.

      Such facts, as set forth above, were not disclosed to Plaintiffs and Class

Members, rendering the written statements of Blue Line fraudulent and deceptive.

Blue Line has thereby fraudulently and deceptively, and without authority, collected

and retained money from Plaintiffs and Class Members not authorized by O.C.G.A.

§ 40-14-18 and in violation of 18 U.S.C. § 1341 and O.C.G.A. §§ 16-8-3, and 16-

10-23.

                                         76.

      Blue Line deceptively posed the “Town of Tallulah Falls Police Department”

and “The Chatham County Police Department” and affixed an image of a law

enforcement badge to the citations without disclosing Blue Line’s true identify and

without disclosing that a substantial portion of the solicited funds were going to a

private, for-profit corporation and not to fund local law enforcement or public safety

initiatives, in violation of 18 U.S.C. § 1341 and O.C.G.A. §§ 16-8-3, 16-10-23, and

40-14-18(m) and the Due Process Clause of the Georgia Constitution.

                                         77.

      Plaintiff Thomas Chastain paid $75 of the solicited $100 by check made

payable to the Town of Tallulah Falls, but cashed by Blue Line. He has been

subjected to additional collection efforts by Blue Line for $25, presumably for a

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“processing fee” and threatened with referral of his motor vehicle to the Department

of Revenue for nonrenewal of the registration and a prohibition of title transfer of

such motor vehicle within this state for failure to pay the full amount of the

deceptively labeled “Civil Monetary Penalty” that included the unreasonably

excessive maximum electronic processing fee.

                                        78.

      Although Plaintiff Thomas Chastain paid the civil penalty by check made

payable to the Town of Tallulah Falls, but mailed to Blue Line’s office, Blue Line

included a charge of $25 to electronically process the civil monetary penalty. Blue

Line did not disclose that it, and not Tallulah Falls, was cashing the check and

retaining at least 35% of the payment. Because Mr. Chastain paid only the civil

monetary penalty set by statute, Blue Line fraudulently and deceptively extracted

the $75 fine paid by Mr. Chastain and used the U.S. Mail to execute this fraudulent

scheme under the guise of being a Georgia governmental entity, all in violation of

18 U.S.C. § 1341 and O.C.G.A. §§ 16-8-3, 16-10-23, and 40-14-18(m) and the Due

Process Clauses of the Georgia and United States Constitutions.

                                        79.

      Blue Line, posing as the Town of Tallulah Falls Police Department, mailed

the “Final Notice of Nonpayment” of the “Civil Monetary Penalty” to Mr. Chastain

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in an attempt to collect its unauthorized $25 electronic processing fee.         The

electronic processing fee is not an enforceable penalty and Blue Line has deceptively

issued this notice and caused Mr. Chastain to be referred to the Department of

Revenue for nonpayment of Blue Line’s unauthorized processing fee in violation of

18 U.S.C. § 1341 and O.C.G.A. §§ 16-8-3, 16-10-23, and 40-14-18(m).

                                         80.

      Blue Line charged and collected $25 from Plaintiff Jonathan Dunn as an

electronic processing fee and an additional $3.90 for electronic processing of his

credit/debit card without statutory authority and without disclosing this lack of

authority or factual support for it to collect and retain any of the charge. Blue Line

did not disclose that the 35% of the $100 “Civil Monetary Penalty” it collected from

Mr. Dunn under the guise of being the “Chatham County Police Department” was

money illegally being retained by Blue Line , a for-profit Tennessee corporation.

Blue Line used the U.S. Mails in the execution of this fraudulent scheme in violation

of 18 U.S.C. § 1341 and O.C.G.A. §§ 16-8-3, 16-10-23, and 40-14-18(m) and the

Due Process Clauses of the Georgia and United States Constitutions.

                                         81.

      Blue Line wrongfully, fraudulently and deceptively extracted $103.90 from

Mr. Dunn in violation of 18 U.S.C. § 1341; O.C.G.A. §§ 16-8-3, 16-10-23 and 40-

                                         41
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14-18.

                                          82.

      Under the ASE System agreements, Blue Line determines the locations for

the ASE equipment. Upon information and belief, Blue Line does not install the

ASE systems in areas with the highest number of school days and highest number

of school hour vehicle crashes. Instead, ASE systems are installed in school zones

with the highest traffic volume. Blue Line’s ASE System agreements have a built-

in incentive to maximize the issuance of citations while making public safety a less

significant consideration. O.C.G.A. § 40-14-18 specifically provides that the $25

processing fee is to electronically process the civil monetary penalty. It does not

provide that the $25 processing fee is for costs to process the citation nor collect

revenue. O.C.G.A. § 40-14-18(b)(1).

                         CLASS ACTION ALLEGATIONS
                                          83.

         This action is brought by Named Plaintiffs as a class action, individually and

on behalf of all prospective Class Members, under the provisions of Fed.R.Civ.P.

23(a), 23(b)(1), 23(b)(2), 23(b)(3) and 23(c)(4).

                                          84.

      Plaintiffs seeks certification of the following Class :


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      All Georgia citizens who have been mailed a “Notice of Citation”
      pursuant to the School Zone Electronic Enforcement Statute, O.C.G.A.
      § 40-14-18 by Blue Line Solutions from July 1, 2018, to the date of
      certification of a class.

                                         85.

      Excluded from the Class are Defendant; officers, directors and employees of

Blue Line; any entity in which Blue Line has a controlling interest, is a parent or

subsidiary, or which is controlled by Blue Line; and the affiliates, legal

representatives, attorneys, heirs, predecessors, successors, and assigns of Blue Line.

                                         86.

      Plaintiffs individually and on behalf of the Class Members seek a refund of

all amounts charged and collected by Blue Line, plus exemplary damages and

expenses of litigation, including reasonable attorney fees.

                                         87.

      Certification of Plaintiffs’ claims for class-wide treatment is appropriate
because Plaintiffs can prove the elements of the claims on a class-wide basis using
much the same evidence as would be used to prove those elements in individual
actions alleging the same claims.
                                         88.

      The identification of Class Members is readily available because Blue Line

has access to the names and addresses for all Class Members to whom it has mailed

a “Notice of Citation”. The names and addresses of the Georgia vehicle owners who
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have received a Notice of Citation from Blue Line can be used to provide class notice

to Class Members. According to the Blue Line contracts, Blue Line provides an

automated, web-based program for all citations that it has sent to Class Members,

including image processing, mailing addresses and monies collected from each Class

Member by Blue Line.

                                        89.

      Numerosity. The requirement of numerosity under Fed.R.Civ.P. 23(a)(1) is

met because the state-wide Class is so numerous that joinder of all members would

be impractical. Blue Line mails hundreds of citations weekly to owners of vehicles

registered in Georgia.

                                        90.

      Commonality and Predominance. The requirements of Fed.R.Civ.P. 23(a)(2)

and (b)(3) are met because this case involves common questions of law and fact that

predominate over any questions that affect only individual Class Members. Common

questions of law and fact include: (1) Whether the School Zone Electronic

Enforcement Act is constitutional as written or as applied by Blue Line; (2) The

validity of Blue Line’s form contract; (3) Whether Blue Line employees meet the

commands of O.C.G.A. § 40-14-2; (4) Whether Blue Line’s class-wide procedures

meet the commands of O.C.G.A. § 40-14-2; (5) Whether Blue Line engaged in

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wrongful conduct in charging and collecting electronic fees from Class Members

allegedly under O.C.G.A. § 40-18-14; (6) Whether Blue Line wrongfully charged,

collected and retained credit card processing fees not authorized by the statute; (7)

Whether Blue Line’s conduct was unlawful and supports an action for money had

and received, and unjust enrichment; (8) Whether Blue Line fraudulently has held

itself out as being various law enforcement agencies while deceptively not disclosing

that the solicited penalties were going to Blue Line, a private, for-profit corporation

that was retaining a large portion of the collected funds; (9) The validity of the

“Notices of Citation” mailed by Blue Line to Class Members; (10) Whether the

owner of a vehicle registered in Georgia can be charged with illegal conduct solely

because a vehicle is registered in his name; (11) Whether Plaintiffs and the Class

Members suffered injury including a monetary loss; (13) Whether Plaintiffs and

Class Members are entitled to recover sums wrongfully collected by Blue Line; and

(14) Whether Plaintiffs and Class Members are entitled to recover punitive damages.

                                         91.

      Typicality. The requirement of Fed.R.Civ.P. 23(a)(3) is met because the

claims of Named Plaintiffs are typical of the claims of other Class Members in that

Plaintiffs were mailed “Notices of Citations” identical in form and demanding

payments of a civil penalty based upon the same, programmed/automated/

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computerized conduct of Blue Line, issuing collection letters and reporting

delinquencies for failure to pay that result in a referral to the Department of Revenue.

The Plaintiffs and all members of the Class were injured through the same

misconduct of Blue Line and assert the same claims for relief. There is no conflict

between Named Plaintiffs and Class Members with respect to this action, or with

respect to the claims for relief herein set forth.

                                           92.

      Adequacy. The requirements of Fed.R.Civ.P. 23(a)(4) are satisfied because

Plaintiffs and their counsel will fairly and adequately protect the interests of the

Class. Plaintiffs are members of the Class they seek to represent. Plaintiffs are

committed to pursuing this matter against Blue Line on a state-wide basis to obtain

relief for the Class Members. Plaintiffs have no known interests that are antagonistic

to or conflict with the interests of other Class Members.

                                           93.

      Counsel for Plaintiffs and the proposed Class are competent and experienced

in litigating class actions and complex litigation. Prior class action cases successfully

resolved by Plaintiffs’ Counsel include nationwide class actions with over one

hundred thousand class members and numerous class actions for environmental

property damage and consumer fraud. Counsel have litigated class actions in state

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and federal courts in Georgia, Florida, Pennsylvania, Rhode Island, Massachusetts

and Maine. Plaintiffs and their Counsel will vigorously prosecute this case and will

fairly and adequately protect the Class’s interests.

                                          94.

      Superiority. The requirements of Fed.R.Civ.P. 23(b)(3) are satisfied because

this class action is superior to other available methods for fair and efficient

adjudication. Treatment as a class action will resolve common questions of law and

fact and is superior to numerous individual actions or piecemeal litigation. Without

a class action, Class Members may be deterred by the cost of litigating their

individual claims, and therefore would have no effective remedy in the absence of

class treatment. Plaintiffs and Class Members have been harmed by Blue Line’s

conduct and litigating the relevant issues in a class format will reduce the possibility

of repeated litigation regarding Blue Line’s conduct.

                                          95.

      There are no apparent impediments at this time that would preclude class

treatment. The common questions of law and fact predominate over any questions

affecting individual Class Members. Class treatment is superior to the likelihood of

piecemeal litigation that would burden the courts. Class treatment affords the Class

Members an opportunity to seek relief collectively when they otherwise would be

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unable to expend the cost of litigation to obtain relief for Blue Line’s widespread

wrongful collection of funds from Class Members.

                                          96.

      This action is also properly maintained as a class action pursuant to

Fed.R.Civ.P. 23(b)(1) and 23(b)(2). The prosecution of separate actions by

individual Class Members would create a risk of inconsistent or varying standards

of conduct for Blue Line. As a class action, the issues can be resolved in a way that

conserves judicial resources, parties’ resources and protects the rights of all Class

Members. Relief could be ordered including declaratory and injunctive relief among

different courts that could result in different standards of conduct for Blue Line

within Georgia. The prosecution of separate actions by Class Members would create

the risk of adjudications among Class Members that would be dispositive of the

interests and rights of others not parties to this action, or that would substantially

impair or impede their ability to protect their interests.

                                          97.

      There are issues appropriate for certification under Fed.R.Civ.P. 23 (c)(4)

because the claims present particular, common issues, the resolution of which would

materially advance the resolution of this case and the parties’ interests, including

whether Blue Line engaged in wrongful conduct in charging and collecting

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excessive standardized fees from every Class Member; whether such conduct was

unlawful under Georgia law, whether such conduct constitutes theft by taking;

whether such conduct is fraudulent and deceptive; and whether Plaintiffs and Class

Members are entitled to recover refunds and damages.

                                     COUNT I

               O.C.G.A. § 40-14-18 is Unconstitutional as Written
                         and as Applied by Blue Line

                                         98.

      Paragraphs one through ninety-seven are realleged and incorporated into

Count I.

                                         99.

      A class member who wants to contest the “citation” must “testify under oath

in open court or submit to the court a sworn notarized statement that he was not the

operator of the vehicle at the time of the alleged violation.” Thus, the statute and

Blue Line’s “citation” create a presumption--without evidence--that the vehicle was

driven by the person to whom the vehicle is registered. The burden to prove

innocence is placed on the accused and the evidence required to shift this burden of

persuasion is significant, as it requires a notarized affidavit, which must be obtained

at some cost, or an appearance at the hearing in person or through counsel hired for

that purpose. Potential defenses are restricted by the statute. Notably, even then,
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under the statute, it is entirely discretionary whether or not a sworn affidavit would

be sufficient to rebut the presumption. The cost and burden of contesting the citations

outweigh the cost of paying the citation. This scheme is intended to ensure payment

without a meaningful opportunity to be heard. The amount of the citation is

deliberately set through statute to be less than the normal speeding violation to ensure

such compliance.

                                           100.

       If a class member does not pay the “citation” (or successfully contest it) the

consequences are significant. If the accused does not pay or successfully contest

the citation, a class member is not permitted to renew his vehicle's registration or

transfer title. The lien on the vehicle leads to loss of use of one’s car and loss of the

right to sell one’s car or to use one’s title as collateral for a loan. It could lead to the

repossession of the vehicle by any previous lien holder, such as a financing company.

                                           101.

       This statutory process violates Georgia statutory and common law, and the

due process guarantees of the Georgia and United States Constitutions. Section 40-

14-18 is unconstitutional and unenforceable as it creates a rebuttable presumption of

guilt that impermissibly shifts the burden of persuasion to Plaintiffs and putative

class members. Further, the system that Blue Line operates unlawfully usurps the role

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of law enforcement and violates the statutory framework that dictates which

governmental agencies and government employees, in what manner, may issue

citations for traffic violations and impose fines:

a.    Georgia statutory law allows only law enforcement officers to utilize speed

      detection devices, including those for photographically recorded images, and

      to issue citations or penalties. O.C.G.A. § 40-14-2(a). Blue Line’s conduct

      violates this law as it usurps this statutory mandate. Blue Line operates the

      speed detection devices, makes the determinations of violations, and creates

      and issues the citations. Georgia law does not allow the delegation of police

      powers to third parties, especially as part of an outsourced policing-for-profit

      scheme by a Tennessee for-profit corporation.

b.    Georgia statutory law provides that owners of vehicles may only be "liable for

      a civil monetary penalty to the governing body of the law enforcement

      agency." O.C.G.A. § 40-14-18(d). Blue Line’s conduct renders Plaintiffs and

      putative class members liable directly to Blue Line.

c.    Georgia statutory law mandates that no speed detection device may be used

      where payment to the issuer is on a "fee system." O.C.G.A. § 40-14-2(b). The

      Blue Line system is just such an incentive-based citation system, whereby the




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      more violations it issues the more revenue it receives. The same is true for

      the local government.

d.    Georgia statutory law allows an "agent" only to mail the “citations,” and

      Blue Line by its own contractual documents is not the agent of any

      municipality. O.C.G.A. § 40-14-18(b)(2). There is no authority for it to create

      citations or notices of violation to Plaintiffs and class members or for it to

      collect payment through such notices.

e.    Only law enforcement officers may issue citations for violation of Georgia

      traffic laws. O.C.G.A. § 17-4-23(a),(c).

                                        102.

      O.C.G.A. § 40-14-18 establishes severe penalties for registered owners of

motor vehicles, imposes a presumption of guilt, places the burden of proof on the

accused thereby effectively denying the accused the right against self-incrimination,

limits access to a court of law and allows imposition of a monetary penalty without

a prior adjudication of guilt, with the government not having the burden of proof

beyond a reasonable doubt. It is unconstitutional under the due process and privilege

against self-incrimination clauses of the Fifth Amendment of the U.S. Constitution,

the due process clause of the Fourteenth Amendment of the U.S. Constitution and

the due process, the right of access to the courts, the right to trial by jury and the

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privilege against self-incrimination of the Bill of Rights of Article I, Section I, ¶¶ I,

XI, XII and XVI of the Georgia Constitution.

                                          103.

      Only registered owners of cars registered in Georgia are subject to losing use

of their cars through refusal to renew tags and blocks on title transfers. Owners of

cars not registered in Georgia, drivers of leased or rental cars, drivers of cars titled

to someone else and all who are issued speeding tickets by sworn law enforcement

officers are not subject to loss of use of their motor vehicle due to the blocking of

tag renewals and transfers of title. This is unequal protection of law without a

rational basis, rendering O.C.G.A. § 40-14-18 unconstitutional under the equal

protection clauses of the Constitutions of the United States and Georgia.

                                          104.

      O.C.G.A. § 40-14-18 should be declared unconstitutional as written and as

applied by Blue Line.

                  COUNT II – MONEY HAD AND RECEIVED
                      AND UNJUST ENRICHMENT

                                          105.

      Named Plaintiffs reallege and incorporate the allegations set forth in

paragraphs one through ninety-seven as if set forth herein verbatim.


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                                         106.

      Blue Line entered into contracts with counties in Georgia to install, operate,

monitor, prepare and mail citations, collect civil penalties from owners of vehicles

registered in Georgia for alleged violations of the School Zone Electronic

Enforcement Statute, O.C.G.A. § 40-14-18.

                                         107.

      Blue Line mailed each class member fake citations that accused each of

owning a vehicle that was speeding, even though that is not a crime in Georgia.

                                         108.

      Blue Line collected from Plaintiffs and Class Members unauthorized and

illegal penalties, electronic processing fees and credit card fees. Plaintiffs and Class

Members did not legitimately owe anything to Blue Line or the local governments

with which it had contracts.

                                         109.

      Blue Line implemented a standardized billing and collection practice that

automatically added a processing fee of $25 to every citation without lawful

authority.




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                                        110.

      Blue Line has no lawful claims to the funds it has collected from Plaintiffs

and Class Members. Blue Line’s compensation is derived solely from payments

collected, a forbidden de facto fee system. O.C.G.A. § 40-14-18, as written and as

applied by Blue Line, promotes unlawful conduct and corruption.

                                        111.

      Blue Line wrongfully collected from Plaintiffs and Class Members and

retained for itself more than 35% of funds that were only to be used “to fund local

law enforcement or public safety initiatives,” as mandated by O.C.G.A. § 40-14-

18(m).

                                        112.

      Blue Line wrongfully charged Plaintiff Dunn and other Class Members and

retained for itself charges for use of credit cards not authorized by law.

                                        113.

      Blue Line has been unjustly enriched at the expense of Plaintiffs and Class

Members.




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                                         114.

      As a matter of equity and good conscience, the Plaintiffs and Class Members

are entitled to a refund of all funds wrongfully collected by Blue Line. Demand has

been made for same.

                                         115.

      The Plaintiffs and Class Members are entitled to expenses of litigation

including reasonable attorney fees due to the bad faith conduct of Blue Line.

O.C.G.A. 13-6-11.

                                         116.

      Blue Line’s actions showed willful misconduct, malice, fraud, wantonness,

oppression or that entire want of care that would raise a presumption of conscience

indifference to consequences. Blue Line is liable to the named Plaintiffs and all

members of the Class for exemplary damages in an amount sufficient to punish Blue

Line and deter Blue Line from further like wrongful conduct.

      WHEREFORE, having stated their Second Amended Class Action

Complaint, Plaintiffs pray as follows:

      1)     That process issue and be served on Defendant in accordance with

             Georgia law;




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2)    That O.C.G.A. § 40-14-18 be declared unconstitutional as written and

      as applied.

3)    That this Court certify the Class and appoint Plaintiffs as Class

      representatives and appoint Plaintiffs’ counsel to represent the Class;

4)    That the Plaintiffs and all Class Members recover all monies collected

      from them by Blue Line, together with interest;

5)    That the Plaintiffs and all Class Members recover exemplary damages

      sufficient to punish Blue Line and to deter Blue Line from further like

      wrongful conduct;

6)    That Plaintiffs and Class Members recover expenses of litigation,

      including reasonable attorney fees;

7)    That Plaintiffs and Class Members have trial by jury; and

8)    That Plaintiffs and Class Members have such further relief that the

      Court deems just.

Respectfully submitted, this ___ day of _____, 2024.


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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this document complies with Local Rule 7.1(D) as it has

been prepared using Times New Roman 14-point font.

                                        s/ John C. Bell, Jr
                                       John C. Bell, Jr.
                                       Counsel for Plaintiffs

                          CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the forgoing SECOND

AMENDED CLASS ACTION COMPLAINT, upon opposing counsel by with

the Clerk of Court using the CM/ECF system, which will automatically send

electronic mail notification of such filing to the following counsel of record:

Travis A. Knobbe, Esquire
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This ___ day of ______, 2024.

                                        s/ John C. Bell, Jr
                                       John C. Bell, Jr.
                                       Counsel for Plaintiffs




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